52 F.3d 321NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Bobby PERRY, Plaintiff--Appellant,v.Juanita H. BAKER;  Elbert T. Buck, Jr.;  William A. Lowry;Charles L. Mann;  Peggy Stamey, Defendants--Appellees.
    No. 95-6205.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1995Decided:  April 18, 1995
    
      Bobby Perry, Appellant Pro Se.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, although we grant leave to proceed in forma pauperis, we affirm on the reasoning of the district court.  Perry v. Baker, No. CA-94-321 (E.D.N.C. Jan. 31, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    